   Case 1:21-cr-00009-DBB Document 6 Filed 10/01/21 PageID.13 Page 1 of 1




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                           IN THE UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH


  UNITED STATES OF AMERICA,
                                                        MOTION TO UNSEAL INDICTMENT
            Plaintiff,

            vs.                                              1:21-CR-00009 DBB

  TIMOTHY WAYNE PATTAN,                                      Judge David B. Barlow

            Defendant.


          The United States, by and through its undersigned counsel, respectfully requests that the

Indictment in the above-referenced matter be unsealed. The defendant has been Indicted and is in

custody in the Weber County Jail awaiting his Initial Appearance so the case no longer needs to be

sealed.

          DATED this _1st_ day of October 2021.


                                                        ANDREA T. MARTINEZ
                                                        Acting United States Attorney

                                                        /s/ Branden B. Miles_______________
                                                        BRANDEN B. MILES
                                                        Special Assistant United States Attorney
